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                          2024-1285
                          Apple Inc. v. ITC
                          U.S. International Trade Commission




             ITC                     337-TA-1276                  Administrative


                            ✔



Appellant seeks reversal of the Commission's final determination of violation of section
337.



The Commission issued a limited exclusion order and a cease and desist order
directed to the respondent's infringing products.



The Commission determined that the complainants (Intervenors) had shown a
violation of section 337 based on Apple's patent infringement.

                                                                  10/26/24
   ✔
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                                                          ✔



The Commission is unaware of any related cases pending before this Court.




The Commission is the Appellee in this appeal and will defend its final
determination.


              ✔




                                                                              ✔




As the tribunal below, the Commission has no information as to whether this case
may be amenable to mediation.




        1/16/24                                  /s/ Ronald A. Traud
                                                 Ronald A. Traud
